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                                                      U.S. Department of Justice
 [Type text]
                                                      United States Attorney
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                                                     86 Chambers Street
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                                                      March 13, 2025

 By ECF
 Hon. Jesse M. Furman
 United States District Judge
 Southern District of New York
 40 Foley Square
 New York, New York 10007

        Re:     Khalil v. Joyce, 25-cv-1935 (JMF)

 Dear Judge Furman:

         This office represents the government in this case. We write respectfully to notify the
 Court that we have filed a Supplemental Declaration of William P. Joyce (ECF No. 36) to clarify
 and correct the first sentence in paragraph 7 of the Joyce Declaration (ECF No. 32), which we filed
 yesterday in support of our motion to dismiss or transfer. Paragraph 4 of the Supplemental Joyce
 Declaration provides the amended statement. We further note that in reciting the factual
 background in the government’s memorandum of law in support of its motion (ECF No. 31)—
 specifically, the third sentence on page two of the brief—we tracked the language of paragraph 7
 of the Joyce Declaration, which should now contain the language in paragraph 4 of the
 Supplemental Joyce Declaration.

       We apologize to the Court for the error and inconvenience, and we thank the Court for its
    consideration of this matter.

                                                    Respectfully submitted,

                                                    MATTHEW PODOLSKY
                                                    Acting United States Attorney for the
                                                    Southern District of New York

                                            By:       /s/ Brandon M. Waterman
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 cc: Counsel of Record (by ECF)
